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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS

                                     Case No. 3:19-cv-056-B

STEVEN B. AUBREY, and
BRIAN E. VODICKA,

          Plaintiffs,
v.

D MAGAZINE PARTNERS, L.P.;
ALLISON MEDIA, INC.;
JAMIE L. THOMPSON;
ROBERT L. ERMATINGER, JR.;
SCOTT ROBERT SAYERS;
ERIC VAUGHN MOYE;
CITY OF DALLAS;
DALLAS COUNTY, TEXAS; and
DOES 1-20, all whose true names
are unknown,

        Defendants.
________________________________/


         PLAINTIFFS’ MOTION TO DISQUALIFY HAYNES AND BOONE, LLP

        Plaintiffs Steven B. Aubrey and Brian E. Vodicka (collectively “Plaintiffs”), pursuant to

Rule 1.09 of the Texas Disciplinary Rules of Professional Conduct (“TDRPC”) and Rule 4-1.9 of

the Rules Regulating the Florida Bar (“RRFB”) hereby move to disqualify Haynes and Boone,

LLP for conflict of interest as follows:

                  FORMER LAWSUIT ALLEGEDLY CAUSES MURDER

        Plaintiffs are innocent people who did not murder Ira Tobolowsky as portrayed in the D

Magazine story published and written by D Magazine Partners, L.P.; Allison Media, Inc.; and

Jamie L. Thompson (collectively “D Magazine”).        D Magzine conducted their own trial by

media to maliciously and falsely hang Plaintiffs for the murder manipulating random facts to suit
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their purpose to sell subscriptions. Part of D Magazine’s story hinges on a fact that clearly

caused a conflict of interest for Haynes and Boone, LLP.

        D Magazine teased the public and insinuated they knew who committed the murder. On

April 26, 2017, D Magazine’s online blog site, Frontburner, published:

                 Sneak Peek: D Magazine’s May Issue, Which Explores Who Killed Ira
                 Tobolowsky1

The “Sneak Peek” did not mention Plaintiffs by name. The short article was designed to tease

and entice its readers to purchase the magazine’s upcoming May 2017 issue.

        On May 3, 2017, D Magazine published a video on YouTube titled: Who Murdered Ira

Tobolowsky? The 57-second video was also designed to tease and let its readers know that D

Magazine had the answer to its own question.          The video was a series of still screens with

messsages and the final two (2) screens stated:

                 •   Who wanted Ira Tobolowsky dead?; and

                 •   Read the story in D Magazine’s May issue. ON NEWSSTANDS NOW 2

        On May 8, 2017, D Magazine’s Frontburner published an additional short article to futher

tease its readers, titled:

                 The Unsolved Murder of Ira Tobolowsky
                 The prominent lawyer was burned alive in his North Dallas garage. The family
                 thinks they know who did it.3

This publication also did not metion Plaintiffs by name.

        D magazine better than delivered on its promises in its May 2017 feature story. They did

went far beyond “exploring who killed Ira Tobolowsky.” they boldly and falsely named




1 See Complaint [3] Ex. D at p. 21.
2 See Complaint [3] Ex. E. YouTube link: https://www.youtube.com/watch?v=Sp6LCb5kweo
3 See Complaint [3] Ex. F.



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Plaintiffs as the parties responsible for the murder. D Magazine answered their own question,

“who killed Ira Tobolowsky?” in the May 2017 story, titled:

                          A Place Where Something Evil Happened4

          Plaintiffs’ names were published 120 times throughout the story. D Magazine eliminated

any possibility that anyone other than Plaintiffs could commit the murder by intentionally not

publishing the names of other persons of interest. D Magazine strategically orchestrated this

trial by media and they falsely declared that Plaintiff were guilty. D Magazine boasts its hard

copy magazine has readership is approximately 500,000 and its online version boasts over 4

million average monthly page views.

          Because there is no evidence whatsoever, connecting Plaintiffs to the crime, D Magazine

created a false motive that drove them to murder. D Magazine’s story describes Plaintiffs as

reprehensible degenerates who had extraordinary hate and anger directed at Ira Tobolowsky.

Their online article included a photo of Plaintiffs and labeled them as “Suspects.”5 The non-

public photo of Plaintiffs had been modified and underneath the photo was a caption that

describes the photo as “all the homemade evidence” used to solve the murder. D Magazine was

abundantly clear about who they believed committed the murder.

          D Magazine turned every irrelevant fact they learned about Plaintiffs into a negative

inference and then published it. One of the facts D Magazine used as motive for murder was a

previous lawsuit. D Magazine’s story insinuated that because of Plaintiffs’ former lawsuit, they

were becoming increasingly desperate and capable of murder, stating:




4   See Complaint [3] Ex. G.
5
    See Complaint [3] Ex. G at p. 21.


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                  “It had been a bruising couple of years for the couple. They had been
                  involved in another contentious lawsuit in Austin, after they'd invested
                  hundreds of thousands of dollars in a real estate deal that turned out to be a
                  Ponzi scheme. They had to sell their $1 million house, and they moved to
                  an apartment in Dallas. They'd spent nearly $2.3 million fighting the case
                  and still owed about $400,000 in legal fees.” 6

In fact, Plaintiffs did spend $1 million in legal fees, not $2.3 million as published by D

Magazine.       D Magazine more than doubled Plaintiffs’ expenses/losses, making it appear that

Plaintiffs lost an additional $1.3 million, which according to the story, drove them to commit

murder.       Information regarding Plaintiffs’ legal fees was not public information and was not

filed in any case with any court, making the origins of the information suspect.

          Comprising part of Plaintiffs $1 million legal fees, was the money Plaintiffs sent to H&B

in payment for their services as retained counsel.

                    H&B REPRESENTED PLAINTIFFS IN SAME LAWSUIT

          Haynes and Boone, LLP (“H&B”) represented Plaintiffs in the “contentious lawsuit” that

D Magazine alleges was the motive for murder. D magazine’s story falsely represented that

Plaintiffs spent “nearly $2.3 million” in legal fees on the lawsuit. Plaintiffs paid $14,208.54 to

H&B for its representation in the lawsuit D Magazine writes about. D Magazine’s choice to use

Plaintiffs’ former lawsuit in their story renders the lawsuit a substantially related matter.

          H&B’s representation of D Magazine is adverse to Plaintiffs’ interests and Plaintiffs have

a justiciable interest to, among other things, ensure that the confidential information imparted to

their former lawyers at H&B remains protected.

          On April 23, 2013, H&B partner, Leslie C. Thorne, executed an engagement agreement

on behalf of H&B for its representation of Plaintiffs Brian Vodicka and Steven Aubrey. See

6   See Complaint [3] Ex. G at p. 10.


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Agreement attached as Exhibit A. Brian Vodicka and Steven Aubrey signed the agreement and

paid the agreed upon $2,500.00 retainer, establishing an attorney-client relationship with H&B.

Invoices incurred under the agreement totaled $14,208.54. One of the invoices is attached as

Exhibit B.

                                 ARGUMENT AND AUTHORITY

       Professional liability insurers and risk management professionals continually stress the

importance of a conflict-checking system in law firms to help identify potential conflicts at the

time the attorney-client relationship is established. Consistently, it has been shown that a check

for conflicts-of-interest that does not include the use of a thorough list or database will leave the

firm vulnerable to an embarrassing, and potentially negligent conflict-of-interest problem.

       H&B is a giant law firm with 550 lawyers, $400 million in revenue, and sixteen (16)

offices all over the world, including locations in Shanghai, London and Mexico City. It was

H&B’s duty to ensure that conflicts of interest were identified and resolved prior to engagement.

It is likely that H&B identified the conflict in this case prior to signing an agreement with D

Magazine.

       The Texas Disciplinary Rules of Professional Conduct are rules of reason that define

proper conduct for purposes of professional discipline. Texas Disciplinary Rules of Professional

Conduct 1.09(a)(3) states:

               Without prior consent, a lawyer who personally has formerly represented
               a client in a matter shall not thereafter represent another person in a
               matter adverse to the former client if it is the same or a substantially
               related matter.




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H&B did not obtain prior consent and is now representing D Magazine in a case where

Plaintiffs’ previous lawsuit was usded to defame Plaintiffs; the same previous lawsuit in which

H&B was Plaintiffs’ counsel.

       As Plaintiffs are Florida residents, the Rules Regulating the Florida Bar mirror those in

the Texas Disciplinary Rules of Professional Conduct. In State Farm Mut. Auto. Ins. Co. v. KAW,

575 So. 2d 630 (1991), the Supreme Court of Florida found the ethical principle at issue is an

attorney's duty to maintain the confidences of his client. That principle is embodied in two rules

of professional conduct. Rule Regulating The Florida Bar 4-1.6(a) provides that "[a] lawyer shall

not reveal information relating to representation of a client ... unless the client consents after

disclosure to the client." The duty of confidentiality continues after termination of the attorney-

client relationship. See Comment to rule 4-1.6. Rule Regulating The Florida Bar 4-1.9 provides:

       A lawyer who has formerly represented a client in a matter shall not thereafter:

      (a) Represent another person in the same or a substantially related matter in which that
           person's interests are materially adverse to the interests of the former client unless the
           former client consents after consultation; or

      (b) Use information relating to the representation to the disadvantage of the former client
           except as rule 4-1.6 would permit with respect to a client or when the information has
           become generally known.

       The purpose of the requirement that an attorney maintain client confidences is twofold. It
       advances the interests of the client by encouraging a free flow of information and the
       development of trust essential to an attorney-client relationship. Developments in the
       Law: Conflicts of Interest in the Legal Profession, 94 Harv.L.Rev. 1244, 1316 (1981).
       However, it also serves a second purpose fundamental to a fair adversary system. Our
       legal system cannot function fairly or effectively if an attorney has an informational
       advantage in the form of confidences gained during a former representation of his client's
       current opponent. Id. at 1315-16; United States v. Ostrer, 597 F.2d 337, 340 (2d
       Cir.1979); Ford v. Piper Aircraft Corp., 436 So.2d at 307-08 (purpose of trial court is to
       afford parties an impartial forum; trial court may decide that disqualification is mandated
       because one party has an unfair advantage over the other).

       We next address the issue of the appropriate standard to apply to determine whether the
       Schlesinger firm should be disqualified. In conflict-of-interest cases such as this arising



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       under the former Code of Professional Responsibility, one seeking to disqualify opposing
       counsel was required to show that (1) an attorney-client relationship existed, thereby
       giving rise to an irrefutable presumption that confidences were disclosed during the
       relationship, and (2) the matter in which the law firm subsequently represented the
       interest adverse to the former client was the same or substantially related to the matter in
       which it represented the former client. Ford v. Piper Aircraft Corp., 436 So.2d at 305;
       Sears, Roebuck & Co. v. Stansbury, 374 So.2d at 1051. This standard was based on the
       Code of Professional Responsibility, Canon 4, which provided that an attorney should
       preserve the confidences and secrets of a client. Id. at 1053.

       In Junger Utility & Paving Co. v. Myers, 14 F.L.W. 2650 (Fla. 1st DCA, Nov. 15, 1989),
       the court applied the same standard to a question of disqualification arising under the new
       Rules of Professional Conduct. Like the Junger court, we do not believe that a different
       standard now applies because the specific admonition to avoid the appearance of
       impropriety does not appear in the Rules of Professional Conduct. See also Brent v.
       Smathers, 529 So.2d 1267 (Fla. 3d DCA 1988) (disqualification required under current
       Rules of Professional Conduct to avoid appearance of impropriety). The Rules of
       Professional Conduct requiring confidentiality serve the same purposes as the
       confidentiality requirements of the Code of Professional Responsibility. 634*634
       Similarly, the need for the irrefutable presumption continues to exist, just as under the
       former code. The presumption acknowledges the difficulty of proving that confidential
       information useful to the attorney's current client was given to the attorney. It also
       protects the client by not requiring disclosure of confidences previously given to the
       attorney. See Government of India v. Cook Indus., Inc., 422 F. Supp. 1057, 1060
       (S.D.N.Y. 1976) (if two actions are substantially related, court will not require proof that
       attorney had access to confidential information, nor give weight to attorney's assertion
       that he had no access to and did not possess confidential information), aff'd, 569 F.2d 737
       (2d Cir.1978).

       Two noteworthy cases which have been decided subsequent to the Supreme Courts

opinion in State Farm as of this writing and reference that decision, both of which were decided

by the First District Court of Appeal, Lee v. Florida Department of Insurance and Treasurer,

586 So. 2d 1185 (Fla. 1st DCA 1991) and Kenn Air Corp. v. Gainesville-Alachua County

Regional Airport Authority, 593 So, 2d 1219 (Fla, 1st DCA 1992). These decisions reflect the

spirit of State Farm in resolution of the disqualification issue present in those cases.

       In State Farm, the Supreme Court flatly rejected the Fourth District's analysis that

disqualification was inappropriate because there had been no showing of actual prejudice, which

had been, or would be, caused by the representation. Here, D Magazine demonstrates actual



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prejudice by publishing a detailed statement regarding a matter in which H&B represented

Plaintiffs.

        A simple conflicts check would be standard protocol for a big firm such as H&B and

would have revealed and prevented this conflict.           Rule 4-1.9 clearly prohibits H&B’s

representation of Defendants because an attorney-client relationship was formed between

Plaintiffs and H&B creating a genuine threat that confidences revealed by Plaintiffs to H&B

would be divulged to Defendants, and they have been.

        Plaintiffs and H&B formed an attorney-client relationship, H&B’s representation of D

Magazine in this matter is adverse to Plaintiffs, and Plaintiffs did not, and do not, consent to the

representation. H&B cannot then, without violating Rule 1.09 of the Texas Disciplinary Rules of

Professional Conduct and Rule 4-1.9 of the Rules Regulating the Florida Bar, represent D

Magazine in this matter. H&B must therefore be disqualified from its representation of D

Magazine.


                                         CONCLUSION

        H&B represented Plaintiffs, for nine (9) months and learned extensive private financial

information about Plaintiffs. D Magazine has demonstrated their hunger for Plaintiffs’ financial

information and would likely publish information that H&B might improperly share about

Plaintiffs. H&B may no longer have any recollection of Plaintiffs’ information, but the law

presumes it does. D Magazine falsely alleged Plaintiffs’ lawsuit caused them to commit murder

and they published false representations about the lawsuit finances. If H&B is not disqualified

from this case, it will begin defending misrepresentations made by its current clients, D

Magazine, and will be forced to file knowingly false documents with this Court.




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       H&B’s prior representation of Plaintiffs is not just substantially related to the present

matter; it literally is the present matter.   Plaintiffs’ defamation claim against D Magazine is

based, in part, on the lawsuit in which H&B represented Plaintiffs, for nine (9) months. H&B’s

representation of D Magazine in this matter constitutes a conflict of interest; therefore,

disqualification of H&B is warranted and necessary.


                                              PRAYER

       WHEREFORE, Plaintiffs Steven B. Aubrey and Brian E. Vodicka respectfully request

that the Court:

       1. Grant Plaintiffs’ Motion to Disqualify Haynes and Boone, LLP; and

       2. Grant Plaintiffs such other and further relief to which they may be entitled.


                            CERTIFICATION OF CONFERENCE

       Pursuant to N.D. TX. L.R. 7.1(a)(b), Plaintiffs hereby certify that prior to filing this

motion, they conferred with all parties, who may be affected by the relief sought in the motion,

regarding the merits of this motion. Defendants D Magazine Partners, L.P., Allison Media, Inc.,

and Jamie L. Thompson oppose the motion. Defendants Dallas County, the City of Dallas, Eric

Moye, Scott R. Sayers and Robert L. Ermatinger take no position on the motion.

                                                      Respectfully submitted,

                                                      By: s/ Steve B. Aubrey_______
                                                          Steven B. Aubrey, Pro Se
                                                          2601 NW 3rd Ave
                                                          Wilton Manors, FL 33311
                                                          Telephone: (512) 666-8004
                                                          defamationperse@gmail.com

                                                      By: s/ Brian E. Vodicka______
                                                          Brian E. Vodicka, Pro Se
                                                          2601 NW 3rd Ave
                                                          Wilton Manors, FL 33311


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                                                         Telephone: (954) 716-9375
                                                         defamationperse@gmail.com




                               CERTIFICATE OF SERVICE

        On April 5, 2019, I filed the foregoing document with the clerk of court for the U.S.
District Court, Northern District of Texas, using the ECF system. I hereby certify that I have
served all counsel and/or pro se parties of record electronically or by another manner authorized
by FED. R. CIV. P. 5 (b)(2).

                                                           s/ Steven B. Aubrey_______
                                                           Steven B. Aubrey




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                    Exhibit A
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                    Exhibit B
· haynesboone
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                                                                                            Invoice Number: 21053429
                                                                                 ClientlMatter Number: 0050494.00001
                                                                                                     January 07, 2014




 S8 Aubrey
 1311 Spyglass Drive
 Austin , TX 78746                                                                    Tax Identification No. 75-131 2888




 Billing Attorney: Leslie C. Thorne

 For Professional Services Through December 31,2013



 0050494,00001
 Federal lawsuit


                                                      Professional Fees

           Timekeeper                  Description



 12/02113 Leslie C. Thome

 12/06/13 Leslie C. Thorne

 12109/ 13 LeslieC. Thome

 12117113 Leslie C. Thome


 1211 8113 Lesl ie C. Thorne




 Chargeable Hours

 Total Fees
